                      UNITED STATES DISTRICT COURT
                                 FOR THE
                      EASTERN DISTRICT OF WISCONSIN


CUC HUYNH,

      Plaintiff,

v.                                                     Case No.: 18-CV-1222

MICHAEL TRUAX, Deputy for the Milwaukee
Sheriff’s Department, JOHN DOE #1 and
other unnamed members of the Milwaukee
County Sheriff’s Dept.,

      Defendants.


          DEFENDANT MICHAEL TRUAX’S MOTION TO DISMISS
                  FOR FAILURE TO PROSECUTE


      Pursuant to Rule 41(b) of the Federal Rules of Civil Procedure and Civil Local

Rule 41(c), Defendant, Michael Truax, by his undersigned counsel, hereby

respectfully moves this Court for an order dismissing Plaintiff’s action on the merits

and with prejudice, due to her failure to prosecute.

      The grounds for this motion are more fully set forth in the accompanying

Combined Brief in Support of his Motion to Dismiss for Failure to Prosecute and in

Opposition to Plaintiff’s Motion to Extend Time, (ECF No. 55.)




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      Dated this 6th day of December 2021.


                              CRIVELLO CARLSON, S.C.
                              Attorneys for Defendant, Deputy Michael Truax

                              By:    s/ Benjamin A. Sparks
                                     SAMUEL C. HALL, JR. (SBN: 1045476)
                                     BENJAMIN A. SPARKS (SBN: 1092405)

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